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ATTACHMENT 2
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DEPARTMENT OF THE AIR FORCE
WASHINGTON, DC

OFFICE OF THE SECRETARY

16 August 2024

MEMORANDUM FOR THE RECORD
FROM: SAF/AA
SUBJECT: Classification Review of Seized Document

(U) [ am Mr. Edwin H. Oshiba, the Administrative Asisstant to the Secretary of the Air Force
(SAF/AA). In this role, I have been designated as the Senior Security Official for the Department of
the Air Force. As the Senior Security Official, my responsibilities include exercising Original
Classification Authority (OCA) for information requiring protection as TOP SECRET, and providing
oversight for all subordinate classification authorities within the Department of the Air Force.

(U) On 12 August 2024, I was informed the FBI seized a document during the recent arrest of
Mr. Ghokan Gun, an Air Force civilian employee of the Joint Warfare Analysis Center (JWAC),
Dahlgren, VA. I was informed this document was recovered during a search of Mr. Gun’s residence
on 09 August 2024 from a black backpack set against the outside door of that residence. This
document was marked as TOP SECRET.

(U) This document was subsequently reviewed by a U.S. Government Agency with responsibility
for its subject matter. I have been informed that an OCA of that Agency reviewed it and confirmed
that the document was classified as TOP SECRET//SCI. The Agency’s review further characterized
the information in the classified document as National Defense Information pertaining to the U.S.
Government’s strategy on the research, development, application, and execution of emerging
technologies critical to the U.S. national security and defense apparatus.

SHIBA, SES, DAF
e Assistant
